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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 IN RE:                                             §
                                                    §
 THORNCO HOSPITALITY, LLC,                          §
                                                    §       Case No. 24-33596-swe
                                                    §
 DEBTOR.                                            §       Chapter 11



  LIMITED OBJECTION AND RESERVATION OF RIGHTS OF HILTON FRANCHISE
   HOLDINGS LLC TO DEBTOR’S FIRST AMENDED PLAN OF REORGANIZATION

          Hilton Franchise Holding LLC (“Hilton”) by and through its undersigned counsel, files this

limited objection and reservation of rights (the “Limited Objection”) to the First Amended Plan of

Reorganization (the “First Amended Plan”) [ECF No. 80] filed by Thornco Hospitality LLC

(“Thornco” or the “Debtor”) specifically with respect to the provisions of the Plan regarding the

Debtor’s assumption of the Franchise Agreement between the Debtor and Hilton and respectfully

submits:

                                I.     PRELIMINARY STATEMENT

          1.     While Hilton does not necessarily object to the Debtor’s assumption of the

Franchise Agreement (as defined below) by and between Hilton and the Debtor, per se, Hilton

files this Limited Objection to the extent that the Debtor is proposing to assume the Franchise

Agreement without complying with (i) the provisions of the Franchise Agreement governing the

transfer of equity ownership in the franchisee entity – here the Debtor; and (ii) the necessary

requirements under 11 U.S.C. §365(b)(1). In particular, Hilton is concerned that the Plan provides

for re-constituting the ownership of the Debtor entity in a Trust created under the First Amended

Plan where the proposed Trustees are, as yet, not determined. Additionally, the First Amended

Plan calls for the assumption of the Franchise Agreement and cure of all defaults, but does not

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address compensating Hilton for actual pecuniary loss incurred by it, or adequate assurances of

future performance as required by §365(b)(1).

                                     II.   RELEVANT FACTS

         A.    Hilton Franchise Holdings, LLC.

         2.    Hilton operates a guest lodging franchise system. The system, broadly stated, is

comprised of various trade names and service marks (which are on the Principal Register of the United

States Patent and Trademark Office), logos and derivations thereof.

         3.    Hilton or its affiliates own and possess the exclusive right to license the use of the

service mark “Homewood Suites by Hilton”® and various related trade names, trademarks and

service marks (certain of which are on the principal register of the United States Patent and Trademark

Office), logos, and derivations thereof. These marks, together with certain other trademarks and

service marks which are not registered or which are pending registration, are hereinafter collectively

referred to as the “Hilton Marks”.

         4.    Hilton has developed a system for the promotion and assistance of independently

owned and/or operated guest lodging facilities designed to enable such facilities to compete

effectively in the hospitality market (which system is hereinafter referred to as the “Hilton System”).

The Hilton System includes, but is not limited to, common use and promotion of certain Hilton Marks,

copyrights, trade secrets, centralized advertising programs, referral programs and centralized support

functions such as a nationwide computer reservation system. Hilton, from time to time, revises and

updates the Hilton System.

         5.    Hilton or its predecessors have continuously used each of the Hilton Marks since the

date of their registration and those service marks are in full force and effect pursuant to 15 U.S.C. §




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1065. Hilton has given notice to the public of the registration of the Hilton Marks as provided in 15

U.S.C. § 1111, and Hilton uses or has used the Hilton Marks as abbreviations of its brand name.

         6.     The hotels operating as part of the license system are all independently owned and

operated. Hilton allows its licensees, pursuant to individual license or franchise agreements, to operate

their hotels as guest-lodging facilities utilizing the Hilton Marks and System. Through its franchise

system, Hilton markets, promotes and provides services to its licensees throughout the United States.

To identify the origin of their services, Hilton allows its licensees to utilize the Hilton Marks and to

otherwise associate their facilities services with the applicable Hiltoni brand.

         7.     Hilton has invested substantial effort over a long period of time, including the

expenditure of millions of dollars, to develop goodwill in the Hilton Marks as distinctly designating

the high-quality guest lodging services provided by Hilton licensees. The Hilton Marks are

indisputably famous trademarks in the United States.

         B.     The Franchise Agreement.

         8.     As noted, supra, Hilton and the Debtor entered into a Franchise Agreement and related

agreements (collectively, the “Franchise Agreement”) dated June 6, 2019, pursuant to which the

Debtor is authorized to operate a 109 guest room hotel at 12150 Grant Street, Thornton, Colorado

(the “Facility”) as a “Homewood Suites by Hilton”® hotel.

         9.     Pursuant to the Franchise Agreement, the Debtor is required to pay Hilton certain

monthly fees, as defined and set forth in the Franchise Agreement (the “Monthly Fees”).

         10.    Section 12 of the Franchise Agreement provides as follow with respect to the transfer

of ownership interests in the franchisee entity:

                12.2 Your Transfer. You understand and acknowledge that the rights and duties in
                this Agreement are personal to you and that we are entering Into this Agreement In
                reliance on your business skill, financial capacity, and the personal character of you
                and your officers, directors, partners, members, shareholders or trustees. A Transfer
                by you (or by an Equity Owner as of the Effective Date, or by a transferee Equity
                Owner we later approve) of any Equity Interest, or this Agreement, or any rights or

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                obligations under this Agreement, is prohibited other than as expressly permitted in
                this Agreement. In any Transfer by you or any Equity Owner under this Subsection
                12.2, the proposed Transferee may not be a Sanctioned Person or a Competitor.

                                                      *****

                12.2.1.2 Permitted Transfers That Require Notice and Our Consent. We will
                permit you or any Equity Owner to engage in the following Permitted Transfers If the
                Permitted Transfer meets the listed requirements. For Permitted Transfers under this
                Subsection, you must: (a) give us at least sixty (60) days' advance written notice of
                the proposed Permitted Transfer (including the identity and contact Information for
                any proposed transferee); (b) pay to us on request a nonrefundable processing fee of
                Five Thousand Dollars ($5,000); provided, however, we agree to waive the
                processing fee for one (1) Permitted Transfer if It occurs before the Opening Date; (c)
                follow our then-current procedure for processing Permitted Transfers, including
                providing any information we may require In order to review the proposed Transfer
                and completing our then-current compliance process; and (d) execute our then-
                current standard documents required for processing Permitted Transfers.

                                                       ****

                12.2.2 Change of Ownership Transfer. A Change of Ownership Transfer is any
                Transfer that will result in a change of Control of you, the Hotel or the Hotel Site, or is
                not otherwise described In Subsection 12.2.1. We will have sixty (60) days from our
                receipt of the completed and signed franchise application to consent or withhold our
                consent to any proposed Change of Ownership Transfer. Our consent will not be
                unreasonably withheld. You consent to our communication with any third party we
                deem necessary about the Hotel in order for us to evaluate the proposed Change of
                Ownership Transfer. Our consent to the Change of Ownership Transfer is subject to
                the following conditions, all of which must be satisfied at or before the date of closing
                the Change of Ownership Transfer ("Closing").

         C.     The Debtor’s Default under the License Agreement and Bankruptcy Filing.

         11.    On November 25, 2024, the Debtor filed a voluntary Chapter 11 bankruptcy

proceeding with this Court. The Debtor has continued to operate post-petition as a debtor in

possession.

         12.    At the time of the bankruptcy filing, the Debtor was indebted to Hilton in the amount

of $2,187.12. On February 28, 2025, Hilton filed a proof of claim in the within matter in the amount

of $2,187.12 (the “Hilton POC”)

         13.    On March 24, 2025, the Debtor filed its First Amended Plan which At Article 5,

provides for the cancellation of Class 5 equity interests and the issuance of New Member Interests

to a Trust. Article 6.02 provides for the creation of a Trust, stating specifically that



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                Confirmation of the Plan shall effect the formation of the Trust. The Causes
               of Action shall be transferred to the Trust by Debtor. The Trust Assets shall
               consist of (i) the Causes of Action; and (ii) the New Member Interests in the
               Reorganized Debtor. The specific terms, conditions, and rules governing
               the Trust are contained in the Trust Agreement, a copy of which will be
               filed with the Court not less than ten (10) days prior to the Confirmation
               Hearing.

In terms of the composition and management of the Trust, the First Amended Plan provides
as follows

               7.03 Beneficiaries of the Trust. The beneficiaries of the Trust shall be the
               holders of Allowed Claims in Class 4 who receive their Pro Rata portion
               of the Trust Interest in accordance with the terms of this Plan.

               7.04 Appointment of the Trustee; Trust Committee. The initial Trustee
               shall be selected by the Debtor and Lincoln. Any successor Trustee will be
               selected by the Trust Committee. The Trust Committee consists of up to
               three members holding the largest Allowed Unsecured Claims in Class 4.
               All major decisions by the Trustee, including, but not limited to, whether
               to sell the Hotel or prosecute or settle an Estate Cause of Action, will
               require the consent of a majority of the Trust Committee.



         14.   The First Amended Plan does not address the issues of actual pecuniary loss or

adequate assurances of future performance as contemplated under 11 U.S.C. §365(b)(1)

                                 III.    LIMITED OBJECTION

         15.   As noted in the Preliminary Statement at Section I, herein, Hilton does not necessarily

oppose the Debtor’s First Amended Plan in general or the assumption of the Franchise Agreement in

specific. At this point however, it must assert this limited objection and reservation of rights as the

First Amended Plan does not comport with the requirements for transfer of equity in the franchisee

entity as set forth in the Franchise Agreement, nor does it provide for or address the compensation for

actual pecuniary loss to Hilton or adequate assurances of future performance as required under 11

U.S.C. § 365(b).




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         16.    Hilton is willing to engage in discussion with the Debtor to address these issues and

then make an informed decision as the whether or not it will consent to assumption. Hilton is

optimistic that these discussions can take place prior to the hearing date for confirmation which is

presently set for June 3, 2025. Having said that, Hilton was constrained to file this Limited Objection

lest it be deemed to have consented to the proposed assumption of the Franchise Agreement.

         17.    A bankruptcy court order is required for a debtor to assume an executory contract. 11

U.S.C. §365(a). The legislative history indicates that in permitting assumption, bankruptcy courts

must protect the non-debtors’ bargain, including nonmonetary considerations, under all contracts.

H.R. Rep. No. 595, 95th Cong. 2nd Sess. 348 (1978), reprinted in 1978 U.S. Code Cong. Ad. News

5963, 6304-6305. See also In re Ionosphere Clubs, Inc., 85 F.3d 992, 999 (2nd Cir. 1996) (Congress’

intent in imposing cure and adequate assurance conditions on ability of bankruptcy debtor to assume

an executory contract was to ensure that contracting parties receive the full benefit of their bargain if

they are forced to continue performance).

         18.    Where there has been a default in an executory contract, as with the License

Agreement, a debtor must clear three (3) specific hurdles as a condition of assumption:

                If there has been a default in an executory contract or unexpired lease
                of the debtor, the trustee may not assume such contract or lease unless,
                at the time of assumption of such contract or lease, the trustee --

                (A) cures, or provides adequate assurance that the trustee will
                promptly cure, such default . . . ;

                (B) compensates, or provides adequate assurance that the trustee will
                promptly compensate, a party other than the debtor to such contract or
                lease, for any actual pecuniary loss to such party resulting from such
                default; and

                (C) provides adequate assurance of future performance under such
                contract or lease.

11 U.S.C. §365(b)(1).

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         19.    Compliance with each requirement is required before assumption can be approved.

See In re Rachels Industries, Inc., 109 B.R. 797, 802 (Bankr. W.D. Tenn. 1990) (citations omitted).

The party seeking to assume the executory contract bears the burden of proving that the contract is

one subject to assumption and that all of the requirements for assumption have been met. Id.

         20.    There is a pre-petition default under the Franchise Agreement. That being the case,

the Debtor does not satisfy the statutory requirements for assumption of the Franchise Agreement in

that it has not proposed to compensate Hilton for any actual pecuniary loss suffered as a result of the

Debtor’s defaults, nor has the Debtor proffered any adequate assurance of future performance under

the Franchise Agreement.

                                IV. RESERVATION OF RIGHTS

         21.    Hilton specifically reserves all other rights and remedies it may have under the

Franchise Agreement, at law or at equity, including, inter alia, the right to amend its claim herein

to seek liquidated damages in the event that the Franchise Agreement is prematurely terminated.

         22.    Hilton expressly reserves the right to object to: (i) any amendment to or revision

of the First Amended Plan, at the initial hearing(s) or otherwise; and (ii) amend, modify and/or

supplement this Limited Objections as may be appropriate.

         23.    Nothing herein conveys Hilton’s actual or tacit (i) release, discharge, waiver,

modification, or compromise of any claim; (ii) release, discharge, waive, modify, or compromise

any rights or claims under the Franchise Agreement, at law or at equity; (iii) waiver of any

defaults or breaches of the Debtor under the Agreements; or (iv) consent to assumption,

assumption and assignment, or rejection of the Franchise Agreement by the Debtor. Hilton

specifically reserves all other rights and remedies it may have under the Franchise Agreement,

at law or at equity.



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                                      V. CONCLUSION

         24.   For the foregoing reasons, Hilton respectfully asserts this Limited Objection and

submits that the plan, as presently constituted cannot be confirmed unless and until the Limited

Objection is resolved.


                                            Respectfully submitted,


                                            By: /s/ David S. Catuogno

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